Case 18-21469-tnw        Doc 31     Filed 05/13/19 Entered 05/13/19 06:48:45              Desc Main
                                    Document      Page 1 of 4


                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                               COVINGTON DIVISION

IN RE:
                                                      IN PROCEEDINGS UNDER CHAPTER 7
THOMAS TAYLOR PENNIX
                                                                 CASE NO: 18-21469
TERESA LYNN PENNIX
                                                             JUDGE: TRACEY N. WISE
       DEBTORS

                       TRUSTEE'S ABANDONMENT OF PROPERTY

       On request of Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper for an abandonment

by the Trustee of certain real estate described herein; and it appearing that there is no equity in

the property described herein for the benefit of unsecured creditors, the Trustee does hereby

abandon the following described property as an asset of inconsequential value to the estate, to-

wit:

               2184 Bluegrama Drive, Burlington, KY 41005

               FOR LEGAL DESCRIPTION, SEE EXHIBIT “A” ATTACHED.



                                               /s/ Michael L Baker
                                               Michael L Baker




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Case 18-21469-tnw       Doc 31     Filed 05/13/19 Entered 05/13/19 06:48:45             Desc Main
                                   Document      Page 2 of 4


           CERTIFICATE OF NO REQUEST FOR FURTHER NOTICE/NO OBJECTION

       This is to certify that the undersigned has caused the docket to be checked following the

first meeting of creditors and no additional notice request appears thereon or, if one has been

filed, additional notice has been provided to the party requesting same without timely objection.

                                             Respectfully Submitted,

                                             /s/ Matthew Murtland
                                             Shapiro, Van Ess, Phillips & Barragate, LLP
                                             Matthew Murtland (KY-96516)
                                             4805 Montgomery Road, Suite 320
                                             Norwood, OH 45212
                                             Phone: (513) 396-8100
                                             Fax: (847) 627-8805
                                             Email: mmurtland@logs.com




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Case 18-21469-tnw   Doc 31   Filed 05/13/19 Entered 05/13/19 06:48:45   Desc Main
                             Document      Page 3 of 4



                                 EXHIBIT “A”
                              LEGAL DESCRIPTION




                                        1
Case 18-21469-tnw       Doc 31    Filed 05/13/19 Entered 05/13/19 06:48:45          Desc Main
                                  Document      Page 4 of 4


                               CERTIFICATE OF SERVICE

       I certify that on May 13, 2019, copies of the foregoing were served by mailing the same
by ordinary U.S. Mail, postage prepaid, and/or electronically to the following:

Served by Regular U.S. Mail

Thomas Taylor Pennix
1919 Georgetown Drive
Burlington, KY 41005

Teresa Lynn Pennix
1919 Georgetown Drive
Burlington, KY 41005


Electronic Mail Notice List

Craig L. Kendrick
7000 Houston Road
Bldg. 300, Ste. 25
Florence, KY 41042

Michael L Baker
541 Buttermilk Pike
Suite 500, Box 175710
Covington, KY 41017

U.S. Trustee
U.S. Trustee
100 East Vine Suite #500
Lexington, KY 40507

                                            /s/ Matthew Murtland
                                            Shapiro, Van Ess, Phillips & Barragate, LLP
                                            Matthew Murtland (KY-96516)
                                            4805 Montgomery Road, Suite 320
                                            Norwood, OH 45212
                                            Phone: (513) 396-8100
                                            Fax: (847) 627-8805
                                            Email: mmurtland@logs.com
